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 3
     Attorney for Defendant
 4   JOHN HOLLISTER MAHAN
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 6

 7                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            )   Case No: 2:13-CR-0300 GEB
                                                          )
11                   Plaintiff,                           )
                                                          )   STIPULATION REGARDING
12          vs.                                           )   EXCLUDABLE TIME PERIODS UNDER
                                                          )   SPEEDY TRIAL ACT; [PROPOSED]
13   JOHN HOLLISTER MAHAN, et al.,                        )
                                                          )   FINDINGS AND ORDER
14                   Defendants.                          )
                                                          )   Date: 10/10/2014
15                                                        )   Time: 9:00 a.m.
                                                          )   Courtroom: Honorable
16                                                        )   GARLAND E. BURRELL, JR.

17

18
                                                  STIPULATION
19

20          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

21   through their respective counsel of record, hereby stipulate as follows:
22          1.       By previous order, this matter was set for status on October 10, 2014.
23
            2.       By this stipulation, defendants now move to continue the status conference until
24
     November 21, 2014 at 9:00 a.m., before the Honorable Garland E. Burrell Jr. and to exclude time
25
     between today’s date, October 9, 2014, and November 21, 2014 under Local Code T4. Plaintiff does not
26
27   oppose this request.

28          3.       The parties agree and stipulate, and request that the Court find the following:

                                     STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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                     a.     The government has produced discovery associated with this case.
 1

 2                   b.     Counsel for defendants request additional time to review discovery, to conduct

 3   investigation and research related to the charges, to discuss potential resolutions with his client, and to

 4   otherwise prepare for trial. In addition, Counsel Matthew Bockmon has been scheduled for a medical
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     procedure that will take 5-6 weeks for recovery.
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                     c.     Counsel for defendants believe that failure to grant the above-requested
 7
     continuance would deny them the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. In addition, because of Mr. Bockmon’s pending surgery, the
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10   continuance is necessary to insure continuity of counsel for Mr. Bockmon’s client, Mr. Gilmore.

11                   d.     The government does not object to the continuance.
12                   e.     Based on the above-stated findings, the ends of justice served by continuing the
13
     case as requested outweigh the interest of the public and the defendants in a trial within the original date
14
     prescribed by the Speedy Trial Act.
15
                     f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
16

17   et seq., within which trial must commence, the time period between the date of the parties' stipulation,

18   October 9, 2014 and the new status conference on November 21, 2014 , inclusive, is deemed excludable

19   pursuant to 18 U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a continuance
20   granted by the Court at defendants’ request on the basis of the Court's finding that the ends of justice
21
     served by taking such action outweigh the best interest of the public and the defendants in a speedy trial.
22
            4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the
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     Speedy Trial Act dictate that additional time periods are excludable from the time period within which a
24

25   trial must commence.

26   ///

27   ///
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     ///

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                           STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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            IT IS SO STIPULATED.
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 2                                                                 BENJAMIN B. WAGNER
                                                                   United States Attorney
 3
             DATED: October 9, 2014                        By:     /s/ Samuel Wong
 4                                                                 Assistant United States Attorney
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 7          DATED: October 9, 2014                                 /s/ Patrick K. Hanly
                                                                   Counsel for Defendant
 8                                                                 John H. Mahan
 9
            DATED: October 9, 2014                                 /s/ Matthew Bockmon
10
                                                                   Counsel for Defendant
11                                                                 Russell E. Gilmore

12
            DATED: October 9, 2014                                 /s/ Michael Bigelow
13                                                                 Counsel for Defendant
                                                                   Richard D. Hemsley
14

15

16
                                                     ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good cause
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19   appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the

20   representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure
21   to grant a continuance in this case would deny defense counsel reasonable time necessary for effective
22
     preparation, taking into account the exercise of due diligence and continuity of counsel for defendant
23
     Gilmore. The Court finds that the ends of justice to be served by granting a continuance outweigh the
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     best interests of the public and the defendants in a speedy trial. It is ordered that time beginning from
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26   the parties' stipulation on October 9, 2014, up to and including the November 21, 2014, status

27   conference shall be excluded from computation of time within which the trial of this matter must be

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                                                   -3-
                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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     commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h) (7) (A) and (B) (iv) and Local
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 2   Code T 4, to allow defense counsel reasonable time to prepare and to insure continuity of counsel.

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            IT IS SO ORDERED.
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            Dated: October 10, 2014
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                         STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
